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§§;1?“§5,?§§;§§' §§V

  
 

UNITED STATES DISTRICT COURT

SOUTHERN DISTRICT OF INDIANA 18 APR l 8 PH h: h 3
_ INDIANAPOLIS DIVISION 1»; ;:; §§ '..j . § l C
du 1‘1":. .:;$,§’? `-'
» . _ .,;&:; 51
UNITED STATES OF AMERICA, ) , ,, m
) ° - - ”-"\ ' v `“ _
Plaintiff, ) 1 ° 1 8 C r 1 1 0 fd’p M ] D
) Cause No.
V. )
)
PIERRE RILEY, ) -Ol
, REGGIE BALENTINE )
a/k/a Pudge, ) -02
MICHAEL O’BANNON, )
` a/k/a Lunchy, . ) -03
KRISTIN KINNEY )
a/k/a Cupcake, ) -04
MICHAEL JONES )
a/k/a MJ, ) -05
JASON REED )
a/k/a J amon )
a/k/a Jasil, ) -06
DERRICK OWENS, ) -07
DESHOUN EVERHART, and ) _ -08
PERRY JONES, ) -09
)
Defendants. )
INDICTMENT

The Grand Jury charges that:
Count One
(2] U.S.C. 841 (a) (1) and 846-C0nspl`racy to Possess with Intent to Distribute and to
Distribute Conlrolled Substances)
Beginning at a date unknown -to the grand jury, and continuing up to and including April 18,
2018, in the Southern District of Indiana and elsewhere, PIERRE RILEY, REGGIE BALENTINE

a/k/a Pudge, MICHAEL O’BANNON a/k/a Lunchy, KRISTIN KINNEY a/k/a Cupcake,

 

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MICHAEL JONES a/k/a MJ, JASON REED a/k/a Jamon a/k/a Jasil, DERRICK OWENS,
DESHOUN EVERHART, and PERRY JONES, defendants herein, did knowingly conspire
together and with diverse other persons, known and unknown to the Grand Jury, to possess with
intent to distribute and to distribute controlled substances, in violation of Title 21, United States
Code, Sections 84l(a)(l) and 846.
'OBJECT OF THE CONSPIRACY

The object of the conspiracy was to possess with intent to distribute and to distribute
controlled substances, including 50 grams or more of methamphetamine (actual), a Schedule II
controlled substance.

MANNER AND MEANS

1. REGGIE BALENTINE communicated with a source of supply located in the State
of Georgia, PIERRE RILEY, to obtain controlled substances, including methamphetamine
PIERRE RILEY would then send the methamphetamine to REGGIE BALENTINE using couriers
who would bring the methamphetamine from Georgia to Kokomo, Indiana.

2. REGGIE BALENTINE worked with individuals such as MICHAEL O’BANNON,
PERRY JONES, and others to distribute the controlled substances.

3. REGGIE BALENTINE routinely stored drugs and drug proceeds with KRISTIN

KINNEY. KINNEY would bring BALENTINE the controlled substances when BALENTINE '

was ready to sell them. 1 KINNEY would also assist in counting the drug proceeds for
BALENTINE.
4. REGGIE BALENTINE would distribute the drugs to individuals such as

MICHAEL JONES, JASON REED, DESHOUN EVERHART, and DERRIK OWENS.

 

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5._ The coconspirators receiving the drugs would further distribute them to others for
a profit.
' 6. The coconspirators routinely utilized cellular phones to communicate and discuss
their ongoing drug distribution activities.
7. ' Many of the coconspirators also possessed firearms in relation to their drug
trafficking activities, in order to protect themselves, their drugs, and their drug proceeds.

All in violation of Title 21 , United States Code, Section 846.

Count Two

(21 U.S. C. 841 (a) (I) Possession with Intent to Distribute Controlled Substrznces)

On or about January 26, 2018, in the Southern District of Indiana, DESHOUN
EVERHART, defendant herein, knowingly and intentionally possessed With the intent to distribute
50 grams or more of methamphetamine (actual), a Schedule II controlled substance, in violation

' of Title 21, United states Code, section 841(a)(1).

Count Threel

(2] U. S. C 841 (a)(l) Distribution of Controlled Substances)

On or about February 24, 2018, in the Southem District of Indiana, REGGIE BALENTINE l
a/k/a Pudge and Jason REED a/k/a Jamon a/k/a Jasil, defendants herein, knowingly and
intentionally distributed 50-grams or more of methamphetamine (actual), a Schedule II controlled
' substance, in violation of Title 21, United States Code, Section 84l(a)(l) and Title 18, United

' States Code, Section 2.

 

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Count Four

(2] U.S.C. 841 (a) (1) Possession with Intent to Distribute Controlled Substances)

On or about February 24, 2018, in the Southern District of Indiana, DERRICK OWENS,
defendant herein, knowingly and intentionally possessed with the intent to distribute 50 grams or
more of methamphetamine (actual), a Schedule II controlled substance, in violation of Title 21,

United States Code, Section 841(a)(1).

~ Count Five
(18 U.S. C. 922(g)(l) Felon in Possession of a Firearm)
On or about March 6, 2018, in the Southem District of Indiana, PERRY JONES, defendant
herein, having been convicted of a crime punishable by imprisonment for a term exceeding one
ryear (to wit: felony Dealing in Cocaine or Narcotic Drug , Howard County, Indiana, Cause Number _
34COl93llCF00078) did knowingly possess in and affecting interstate or foreign commerce a
firearm, that is, a black Springfreld Armory XD40 handgun, and/or a black Taurus PT11G 9mm

handgun, in violation of Title 18, United States Code, Section 922(g)(1).

Count Six _

(18 U.S. C. 922(g)(1) Felon in Possession of a Firearm) 7

From on or about March 8, 2018 through March 11, 2018, in the Southem District of
Indiana, REGGIE BALENTINE a/k/a Pudge, defendant herein, having been convicted of a crime
punishable by imprisonment for a term exceeding one year (to wit: felony Conspiracy/l)ealing in
Cocaine or Narcotic Drug, Howard County, Indiana, Cause Number 34D01-0912-FA-01146;

felony Assisting a Criminal, Howard County, Indiana, Cause Number 34D01-09l l-MR-01001;

 

 

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felony Dealing in Cocaine or Narcotic Drug, Howard County, Indiana, Cause Number 34C01-
9611-CF-00072; felony Obstruction of Justice, Howard County, Indiana, Cause Number 34D04-
, 091 1-FC-00165), did knowingly possess in and affecting interstate or foreign commerce a flrearm,
that is, a black Springfleld Armory XD40 handgun, and/or a black Taurus PTl lG 9mm handgun,

v in violation of Title 18, United States Code, Section 922(g)(1).

Count Seven

(18 U.S. C. 922(g)(1) Felon in Possession of a Firearm)

On or about March 11, 2018, in the Southem District of Indiana, JASON REED a/k/a
J amon a/k/a Jasil, defendant herein, having been convicted of a crime punishable by imprisonment
for a term exceeding one year (to wit: felony Conspiracy to Possess with the Intent to Distribute
Cocaine Base, Southem District of Illinois, Cause Number 4:97-CR-40071-01; felony Resisting
Law Enforcement, Howard County, Indiana, Cause Number 34D02-0310-FB-00396; felony
Possession of Cocaine or Narcotic Drug, Howard County, Indiana, Cause Number 34D01-0701-
`MR-00040), did knowingly possess in and affecting interstate or foreign commerce a firearm, that
is, a black Springfleld Armory XD40 handgun, and/or a black Taurus PTl lG 9mm handgun, in

violation of Title 18, United States Code, Section 922(g)(1).

FORFEITURE
1. Pursuant to Title 21, United States Code, Section 853, if convicted of any of the
offenses set forth in Counts, One through Four of the Indictment, the defendants shall forfeit to the

United States any and all property constituting or derived from any proceeds the defendants

 

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obtained directly or indirectly as a result of the offenses, and any and all property used or intended
to be used in any manner or part to commit and to facilitate the commission of the offenses.
2. The United States shall be entitled to forfeiture of substitute property pursuant to l
Title 21, United States Code, Section 853(p), and as incorporated by Title 28, United States Code,
Section 2461(c), if any of the property described above in paragraph 1, as a result of any act or
l omission of the defendants:

a. cannot be located upon the'exercise of due diligence;

b. has been transferred or sold to, or deposited with, a third party;

c. v has been placed beyond the jurisdiction of the court;

d. has been substantially diminished in value§ or

e. has been commingled with other property which cannot be divided
without difficulty. 1

3. Pursuant to Title 18, United States Code, Section 924(d), if convicted of the offenses
set forth in Counts Five, Six, and Seven of this Indictment, the defendants shall forfeit to the United

States “any firearm or ammunition involved in” the offense.

A TRUE BILL:

 

FOREPERSON

JOSH J. MINKLER
United States Attomey

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Mii:helle P. Brady
Assistant United States A omey

 

